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 3
                               UNITED STATES DISTRICT COURT
 4
                              CENTRAL DISTRICT OF CALIFORNIA
 5
                                    SOUTHERN DIVSION
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 8                                                 Case No.: 8:20-cv-02267-DOC-KES
      Maria Thrasher,
 9                                                 ORDER TO DISMISS [19]
10                     Plaintiff,
11          vs.
12 GrubHub Inc. ,
13
                       Defendant.
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15
16          Based on the Stipulation [19] of counsel, the case is dismissed with
17 prejudice, each party to bear its own attorney fees and costs.
18
                                                  ___________________________
19 Date:___April 1, 2021_________                 HON. DAVID O. CARTER
20                                                UNITED STATES DISTRICT JUDGE

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      8:20-cv-02267-DOC-KES
